Case 2:13-cr-06070-SAB               ECF No. 21        filed 12/11/13       PageID.39         Page 1 of 1




      United States District Court, Eastern District of Washington
                              Magistrate Judge John T. Rodgers
                                           Yakima

USA v. KENNETH RICHARD                                      Case No.        CR-13-6070-WFN-1
ROWELL

        Yakima Video Conference (JTR @ Spokane; Counsel and Defendant @ Yakima)

Arraignment on Indictment:                                                                    12/11/2013


☒ Pam Howard, Courtroom Deputy [Y]                     ☒ Mary Dimke, US Atty
☒ Linda Stejskal, Courtroom Deputy [S]                 ☒ Rebecca Pennell, Defense Atty
☒ Carrie Valencia, US Probation / Pretrial             ☒ Interpreter NOT REQUIRED
  Services Officer
☒ Defendant present ☒ in custody USM                   ☐ Defendant not present / failed to appear
                     ☐out of custody

☒    Rights given                                      ☒    Defendant continued detained
☒    Acknowledgment of Rights filed                    ☐    Conditions of release as previously imposed
☒    Defendant received copy of charging document      ☐    199C Advice of Penalties/Sanctions filed
☒    Defendant waived reading of charging document     ☒    Discovery Order forthcoming
☐    Charging document read in open court

                                             REMARKS

        Defendant appeared and was assisted by counsel and advised of their rights and the allegations
contained in the charging document.

        “Not guilty” plea entered.

The Court ordered:
        1. Matters involving detention have been previously heard and determined. Issue of detention
           not before the Court. Pre-existing Order of Detention will remain in full force.
        2. Defendant shall be detained by the U. S. Marshal until further order of the Court.




                            FTR/Y‐102                Time: 2:31 p.m. – 2:39 p.m.                     Page 1
